                         In the United States District Court
                       For the Middle District of Pennsylvania
                               Williamsport Division

LAMARR PIRKLE, THEODORE
DANNERTH, LAUREN DANKS, and Case No.:
CASEY FLYNN,
                          Plaintiffs, Verified Complaint for Declaratory and
     v.                               Injunctive Relief
GOVERNOR THOMAS W. WOLF,
in his official capacity, KATHRYN
BOOCKVAR, secretary of the
Commonwealth of Pennsylvania,
in her official capacity,
                         Defendants

           Verified Complaint for Declaratory and Injunctive Relief

    Plaintiffs LaMarr Pirkle, Theodore Dannerth, Lauren Danks, and Casey Flynn

(collectively “Voters”) complain as follows:

                                    Introduction

    1.      This is a civil action for declaratory and injunctive relief concerning

violations of Voters’ voting and equal-protection rights by election officials’

inclusion of illegal Presidential Elector results in certain counties, which inclusion

unlawfully dilutes Voters’ lawful votes and requires invalidation of those

presidential-election results in counties with evidence that sufficient illegal ballots

were included in the results to change or place in doubt the results of the

November 3, 2020 presidential election in this state.
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    2.        Voters seek a remedy excluding presidential-election results from such

counties in the certification activities for Presidential Electors described in 3

U.S.C. § 6:

    It shall be the duty of the executive of each State, as soon as practicable
    after the conclusion of the appointment of the electors in such State by the
    final ascertainment, under and in pursuance of the laws of such State
    providing for such ascertainment, to communicate by registered mail under
    the seal of the State to the Archivist of the United States a certificate of
    such ascertainment of the electors appointed, setting forth the names of
    such electors and the canvass or other ascertainment under the laws of such
    State of the number of votes given or cast for each person for whose
    appointment any and all votes have been given or cast; and it shall also
    thereupon be the duty of the executive of each State to deliver to the
    electors of such State, on or before the day on which they are required by
    section 7 of this title to meet, six duplicate-originals of the same certificate
    under the seal of the State; and if there shall have been any final
    determination in a State in the manner provided for by law of a controversy
    or contest concerning the appointment of all or any of the electors of such
    State, it shall be the duty of the executive of such State, as soon as
    practicable after such determination, to communicate under the seal of the
    State to the Archivist of the United States a certificate of such
    determination in form and manner as the same shall have been made; and
    the certificate or certificates so received by the Archivist of the United
    States shall be preserved by him for one year and shall be a part of the
    public records of his office and shall be open to public inspection; and the
    Archivist of the United States at the first meeting of Congress thereafter
    shall transmit to the two Houses of Congress copies in full of each and
    every such certificate so received at the National Archives and Records
    Administration.



                               Jurisdiction and Venue

    3.        This action arises under 42 U.S.C. § 1983 and the First and Fourteenth
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Amendments to the U.S. Constitution.

       4.    This Court has jurisdiction under 28 U.S.C. §§ 1331, 1343(a), 2201,

and 2202.

       5.    Venue is proper under 28 U.S.C. § 1391(b) because a substantial part

of the events giving rise to the claim occurred or will occur in this District.

                                        Parties

       6.    All Plaintiffs are eligible registered voters in this State and were

qualified to, and did, vote for a presidential candidate in the November 3, 2020

presidential election in this State.

       7.    Plaintiff LaMarr Pirkle is a retired pastor who resides in Centre County.

       8.    Plaintiff Theodore Dannerth is a farmer who resides in Centre County.

       9.    Plaintiff Lauren Danks has been a nurse anesthetist for 13 years and

resides in Centre County.

       10.   Plaintiff Casey Flynn is a corrections officer who resides in Montour

County.

       11.   All Defendants are persons authorized by federal and state law to be

involved in the process of certifying Presidential Electors as described in 3 U.S.C.

§ 6.

       12.   Defendant Governor Thomas W. Wolf, sued in his official capacity, is

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required as the state “executive” to finalize, execute, and send required certificates

for Presidential Electors under 3 U.S.C. § 6.

    13.     Defendant, Kathryn Boockvar, sued in her official capacity, is the

Secretary of the Commonwealth of Pennsylvania. Under 25 P.S. § 3159, Boockvar

is responsible for tabulating, computing, and canvassing all ballots cast in any

primary and general election and for certifying and filing the tabulation of all

votes. Under 25 P.S. § 3166, Boockvar is responsible for receiving and tabulating

the returns of the election of the presidential elections and for delivering those

results to the Governor for review and certification.

                                        Facts

    14.     The state certification of Presidential Electors prescribed in 3 U.S.C.

§ 6, will occur this year by December 8, and the Electoral College votes on

December 14. Voters seek a decision from this Court well before then to allow for

possible appeal as necessary, as set out in a separate motion for expedited

consideration.

    15. Accordingly, Defendants must certify the results of the election of

Presidential Electors by December 8, 2020.

Presidential-Election Results in Key Counties

    16.   The current Presidential election results count 3,362,873 ballots cast for

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Joe Biden and 3,317,943 ballots cast for Donald Trump, a difference of 44,930

ballots. 2020 Presidential Election, Department of State, https://www.election

returns.pa.gov/General/SummaryResults (last visited Nov. 9, 2020). In

Philadelphia county, 570,708 ballots were cast for Joe Biden and 127,813 ballots

were cast for Donald Trump, a difference of 442,895 ballots. 2020 Presidential

Election: Philadelphia, Department of State, https://www.electionreturns.pa.gov/

General/CountyResults?countyName=Philadelphia&ElectionID=83&Election

Type=G&IsActive=1 (last visited Nov. 9, 2020). In Montgomery county, 313,543

ballots were cast for Joe Biden and 182,907 ballots were cast for Donald Trump, a

difference of 130,636 ballots. 2020 Presidential Election: Montgomery,

Department of State, https://www.electionreturns.pa.gov/General/CountyResults

?countyName=Montgomery&ElectionID=83&ElectionType=G&IsActive=1 (last

visited Nov. 9, 2020). In Delaware county, 200,911 ballots were cast for Joe Biden

and 116,216 ballots were cast for Donald Trump, a difference of 84,695 ballots.

2020 Presidential Election: Delaware, Department of State, https://www.election

returns.pa.gov/General/CountyResults?countyName=Delaware&ElectionID=83&E

lectionType=G&IsActive=1 (last visited Nov. 9, 2020). And in Allegheny county,

415,861 ballots were cast for Joe Biden and 274,348 ballots were cast for Donald

Trump, a difference of 141,513 ballots. 2020 Presidential Election: Allegheny,

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Department of State, https://www.electionreturns.pa.gov/General/CountyResults?

countyName=Allegheny&ElectionID=83&ElectionType=G&IsActive=1 (last

visited Nov. 9, 2020).

Sufficient Evidence Exists to Place in Doubt Presidential-Election Results in Key

Counties

   17.     There exists sufficient evidence to place in doubt the November 3

presidential-election results in identified key counties. Some of that evidence

follows.

   18.     In Philadelphia county, some voters were advised they needed to cure

ballot defects while others were not. (Trump Compl., attached as Ex. 1, at ¶¶ 133-

34, 136.) Poll watchers were excluded from access to canvassing locations. (Id. at

¶¶ 142, 145.)

   19.     In Montgomery county, a poll watcher overheard unregistered voters

being advised to return later to vote under a different name that was registered in

the poll book. (Id. at ¶ 117.) Voter turnout was 88.5%, 19% higher than statewide

turnout of 69.3%. See 2020 Voter Registration Statistics – Official, Department of

State, https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Voting

ElectionStatistics/Documents/2020%20Primary%20VR%20Stats%20%20FINAL.

pdf (last visited Nov. 10, 2020) (showing 574,403 registered voters in Montgomery

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County); Unofficial Election Results, Montgomery County, Pennsylvania,

https://electionresults-montcopa.hub.arcgis.com/ (last visited Nov. 10, 2020)

(showing 508,442 ballots received in Montgomery County); 2020 turnout is on

pace to break century-old records, The Washington Post,

https://www.washingtonpost.com/graphics/2020/elections/voter-turnout/ (last

visited Nov. 10, 2020) (showing a 69.3% voter turnout statewide).

   20.     In Delaware county, voters that were recorded to have received mail-in

ballots were given regular ballots and not required to sign the registration book.

(Id. at ¶ 125.) Poll watchers were granted extremely restricted access to a back

room counting area. (Id. at ¶ 143.) And ballots received on Election Day were not

separated from ballots received after 8 p.m. that day. (Id. at ¶ 151.) Voter turnout

was 75.87%, compared to statewide turnout of 69.3%. General Election Unofficial

Results, Delaware County, Pennsylvania, https://election.co.delaware.pa.us

/eb/November_2020/index.html (last visited Nov. 10, 2020).

   21.     In Allegheny county, voters were required to vote provisionally

because the records indicated they had requested to vote by mail when they had

not. (Id. at ¶ 116.) Poll workers were reported to be close enough to voters so as to

observe the actual vote. (Id. at ¶ 120.) Voter turnout was 74.54%, compared to

statewide turnout of 69.3%. Unofficial Results, Allegheny County, PA,

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https://results.enr.clarityelections.com/PA/Allegheny/106267/web.264614/#/summ

ary (last visited Nov. 10, 2020).

    22.     Throughout the state, voters received mail-in ballots without applying

for them, in some cases receiving more than one. (Id. at ¶ 111.)

    23.     Throughout the state, in-person voters were advised they must vote

provisionally because they had asked for and received a mail-in ballot, when no

such request was made. (Id. at ¶ 112.) In some cases, they were outright denied the

right to vote. (Id. at ¶ 113.)

    24.     It is estimated that over 680,000 ballots were processed without

observation in Allegheny and Philadelphia counties. (Id. at ¶ 148.)

    25.     This verified evidence, and the other verified evidence detailed in

Trump Complaint, (id. at ¶ ¶ 51-61, 107-152), suffices to place in doubt the

November 3 presidential-election results in identified counties and/or the state as a

whole.

Further Evidence To Be Provided From Relevant Records

    26.      In addition to the foregoing evidence, Voters will provide evidence,

upon information and belief, that sufficient illegal ballots were included in the

results to change or place in doubt the November 3 presidential-election results.

This will be in the form of expert reports based on data analysis comparing state

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mail-in/absentee, provisional, and poll-book records with state voter-registration

databases,1 United States Postal Service (“USPS”) records, Social Security records,

criminal-justice records, department-of-motor-vehicle records, and other

governmental and commercial sources by using sophisticated and groundbreaking

programs to determine the extent of illegal voters and illegal votes, including

double votes, votes by ineligible voters, votes by phantom (fictitious) voters, felon

votes (where illegal), non-citizen votes, illegal ballot harvesting, and pattern

recognition to identify broader underlying subversion of the election results.

Plaintiffs have persons with such expertise and data-analysis software already in

place who have begun preliminary analysis of available data to which final data,

such as the official poll list, will be added and reports generated.

      27.      Upon information and belief, the expert report will identify persons

who cast votes illegally by casting multiple ballots, were deceased, had moved, or

were otherwise not qualified to vote in the November 3 presidential election, along

with evidence of illegal ballot stuffing, ballot harvesting, and other illegal voting.

This evidence will be shortly forthcoming when the relevant official documents are

final and available, for which discovery may be required, and the result of the

analysis and expert reports based thereon will show that sufficient illegal ballots


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    This includes lists of voters using a Federal Postcard Application to register and
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were included in the results to change or place in doubt the November 3

presidential-election results.

                                       Claims

                                       Count I

 Certifying Presidential Electors Without Excluding Certain Counties Would

          Violate Voters’ Fundamental Right to Vote by Vote-Dilution

                                 Disenfranchisement.

                (42 U.S.C. § 1983; U.S. Const. amends. 1 and 14)

    28.     Plaintiffs re-allege and incorporate by reference all of the allegations

contained in all of the preceding paragraphs.

    29.     Certifying Presidential Electors without excluding certain counties

would violate voters’ fundamental right to vote by vote-dilution

disenfranchisement.

    30.     The counties at issue are those identified in the Facts where sufficient

illegal ballots were included in the results to change or place in doubt the

November 3 presidential-election results.

    31.     The right to vote, with the included right to have one’s vote counted, is

protected by the First and Fourteenth Amendments and is fundamental, Harper v.


vote, and any reports documenting voters contacted to cure rejected ballots.
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Va. State Bd. of Elections, 383 U.S. 663, 667 (1966), and well-established:

“Undeniably the Constitution of the United States protects the right of all qualified

citizens to vote, in state as well as in federal elections” and to have that vote

counted, Reynolds v. Sims, 377 U.S. 533, 554 (1964).

    32.      “The right to vote can neither be denied outright, nor destroyed by

alteration of ballots, nor diluted by ballot-box stuffing.” Id. at 555 (internal

citations omitted). “And the right of suffrage can be denied by a debasement or

dilution of the weight of a citizen’s vote just as effectively as by wholly prohibiting

the free exercise of the franchise.” Id.

    33.     If Defendants certify presidential-election results from counties where

sufficient illegal ballots were included in the results to change or place in doubt the

November 3 presidential-election result, Voters valid, legal votes will be

unconstitutionally diluted by illegal votes.

    34. As recognized in Donald J. Trump for President v. Bullock, 2020 WL

5810556 (D. Mont. Sept. 30, 20200, individual voters have standing to bring a

vote-dilution disenfranchisement claim, id. at *7 & n.4. “[T]he Supreme Court has

repeatedly enumerated the principle that claims alleging a violation of the right to

vote can constitute an injury in fact despite the widespread reach of the conduct at

issue.” Id. at 7. See also Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018) (“[A]

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person’s right to vote is ‘individual and personal in nature,’” so “‘voters who

allege facts showing disadvantage to themselves as individuals have standing to

sue’ to remedy that disadvantage” (citations omitted)). Under the generalized-

grievance formulations in Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992), this

claim is not a generalized grievance. Lujan said it turns on whether a plaintiff (i) is

merely asserting “citizen” standing, i.e., the same claim that could be asserted by

“every citizen,” and (ii) just trying to make the government do its job. Id. at 560-

61. Voters don’t bring their claims under mere “citizen” standing but rather assert

personal harms from the violation of their own fundamental right to vote. Their

claim is particularized, challenging only what violates their rights. Their harm is

not the same as for every “citizen.” “[D]enying standing to persons who are in fact

injured simply because many others are also injured, would mean that the most

injurious and widespread Government actions could be questioned by nobody.”

United States v. SCRAP, 412 U.S. 660, 686-68 (1973); see also, FEC v. Akins, 524

U.S. 11, 24 (1998). Voters’ harm is four levels more specific than “every

citizen[’s]” for their claim: (1) within “citizens” are those eligible to register as

voters—only they have the potential to become registered voters; (2), within

eligible voters are registered voters—only they have a right to vote; (3) within

eligible, registered voters are those who actually voted—only they have a vote

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subject to vote-dilution disenfranchisement; and (4) within these eligible,

registered, voters who actually voted are those in a jurisdiction where there are

counties with evidence that sufficient illegal ballots were included in the results to

change or place in doubt the results of the November 3 presidential election. Those

very specific voters with a very specific claim don’t assert a generalized grievance,

and they include Voters. Thus, Voters have standing.

    35.     As established in the Facts discussion, existing and forthcoming

evidence establish that in identified counties illegal voting has occurred in

connection with the presidential-election results, which establishes that Voters’

votes have been unconstitutionally diluted. So the presidential-election elections in

those counties should be invalidated and not included in the certification of votes

for selecting Presidential Electors.

    36.     The relevant standard for invalidating election results from a particular

jurisdiction generally is that “‘the party contesting the election demonstrates an

irregularity or illegality sufficient to change or place in doubt the result.’” 26 Am.

Jur. 2d Elections § 389 (quoting Gore v. Harris, 772 So.2d 1234 (Fla. 2000), rev’d

on other grounds, Bush v. Gore, 531 U.S. 98 (2000)). “Ordinarily, an election may

be contested only for matters that would impeach the fairness of the result.” Id.

(citing Duncan v. McMurray, 249 S.W.2d 156 (Ky. 1952); Appeal of Soucy, 649

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A.2d 60 (N.H. 1994); Fielding v. South Carolina Election Com’n, 408 S.E.2d 232

(S.C. 1991). “An election will not be invalidated unless the party contesting the

election demonstrates an irregularity or illegality sufficient to change or place in

doubt the result.” Id. (citing Middleton v. Smith, 539 S.E.2d 163 (Ga. 2000)).

    37.     In Harris, the Florida statute included as grounds for contesting an

election “‘Receipt of a number of illegal votes or rejection of a number of legal

votes sufficient to change or place in doubt the result of the election.’” 772 So.2d

at 1250 (citation and emphasis omitted). Harris summarized the standard thus: “It

is not enough to show a reasonable possibility that election results could have been

altered by such irregularities, or inaccuracies, rather, a reasonable probability that

the results of the election would have been changed must be shown.” Id. at 1255.

    38.     This generally recognized standard is reflected in this State’s laws. In

In re Ctr. Twp. Democratic Party Supervisor Primary Election, 4 Pa. D. & C.4th

555 (Pa. Com. Pl. 1989), a county trial court, applying 25 P.S. 3464, held that

when “the electoral process has been undermined by fraudulent and perhaps

criminal conduct, [the court’s] duty to act is overwhelming, particularly where, as

here, the fraud may have altered the outcome of the election,” id. at 560-61, and

invalidated a township election based on evidence of 15 fraudulently cast absentee

ballots. In Bright’s Contested Election, 292 Pa. 389 (1928), the Pennsylvania

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Supreme Court affirmed the order of a trial court which, finding massive fraud,

intimidation, and illegal voting had occurred at one polling place, concluded that it

could not determine which of the votes cast at that polling place were lawful and

which were not, and threw out the entire ballot count. Id. The Supreme Court

affirmed its authority “to throw out the entire poll of a district upon a proper

showing.” Id. at 394. See also In re Ctr. Twp. Democratic Party Supervisor

Primary Election, 4 Pa. D. & C.4th at 560 (“The Supreme Court specifically held

that when it is not possible to separate the lawful ballots from the unlawful or

fraudulent ballots, then the entire vote must be rejected and thrown out); Gollmar's

Election, Case of, 316 Pa. 560, 567, 175 A. 510, 513 (1934) (“There is no doubt

that where such glaring fraud and illegality exists as to make it impossible to purge

the ballot boxes with any degree of accuracy, the court may reject the whole vote

of any or of several districts.”).

    39.     Regarding evidence for invalidating election results in a jurisdiction,

Harris established that the required showing could be made (inter alia) by

“credible statistical evidence” establishing a changed election outcome “by a

preponderance of a reasonable probability,” id.:

    In this case, there is no credible statistical evidence, and no other
    competent substantial evidence to establish by a preponderance of a
    reasonable probability that the results of the statewide election in the State
    of Florida would be different from the result which has been certified by
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    the State Elections Canvassing Commission.

    40.     In addition to states routinely providing for invalidating election

results, including in the Presidential Electors context, the U.S. Supreme Court

itself in Bush, 531 U.S. 98, required that partial recounts in some counties (that

unconstitutionally employed different and unclear standards for determining

voter intent) be excluded from the final count in the Florida 2000 presidential

election because of the constitutional flaws identified, id. at 107-12.

    41.     The foregoing articulations of the standard for invalidating election

results in a particular jurisdiction—including proof of reasonable probability by

credible statistical evidence—should be applied here to determine whether the

election results in certain counties should be excluded for purposes of certifying

Presidential Electors. In some situations where election results are invalidated, a

new election is ordered. See, e.g., Pabey v. Pastrick, 816 N.E.2d 1138 (Ind. 2004).

But with the Electoral College scheduled to be certified by December 8 and to

meet and vote on December 14, 2020, there is insufficient time for a new election

in the counties involved. Moreover, the Electoral College is unique and statutory

provisions provide special procedures for moving the Electoral College vote along

expeditiously since the presidency is at issue. So the proper remedy here is to

exclude the results from jurisdictions meeting the standard for disqualifying

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elections from the final results that are certified and reported for Presidential

Electors.

    42.       Because illegal votes dilute legal votes, the evidence establishes, and

will establish, that the rights of Voters have been violated by vote-dilution

disenfranchisement. Consequently, the presidential-election results from the

counties identified should not be included in certified and reported totals for

Presidential Electors from this state.

                                   Prayer for Relief

    1.        Declare that the inclusion of illegal votes in identified counties violates

Voters’ right to vote under the First and Fourteenth Amendment by vote-dilution

disenfranchisement.

    2.        Declare that the proper remedy for this constitutional violation as

applied to presidential-election results is to exclude presidential-election results

from those counties for the Presidential Elector certification under 3 U.S.C. § 6 for

this state.

    3.        Under that remedy, declare that there is sufficient evidence that illegal

votes were counted in the identified county or counties to change or place in doubt

the results of the November 3, 2020 presidential election results in contested

counties, so that the county’s presidential-election results must be invalidated.

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    4.       Enjoin Defendants from preparing and conducting the certification

activities for Presidential Electors described in 3 U.S.C. § 6 (and applicable state

law implementing the federal provision) without excluding the presidential-

election results from the identified counties.

    5.       Award Voters their costs and attorneys fees under 42 U.S.C. § 1988

and any other applicable authority; and

    6.       Grant any and all other such relief as this Court deems just and

equitable.




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Date: November 10, 2020

                          Respectfully Submitted,

                          /s/ Walter S. Zimolong, Esq.
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                                           Verification

I, Casey Flynn, declare as follows:

1.   I am a resident of Pennsylvania.

2.   If called upon to testify, I would testify competently as to the matters set forth in the

foregoing Verified Complaint for Declaratory and Injunctive Relief.

3.   I verify under penalty of perjury under the laws of the United States of America that the

factual statements in this Verified Complaint for Declaratory and Injunctive Relief concerning

me and my past and intended activities are true and correct to the best of my knowledge and

understanding. 28 U.S.C. § 1746.

Executed on November ___, 2020.



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